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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                       )
                                               )
   v.                                          )      USDC No. 22-cr--103 (RCL)
                                               )
John Lammons,              defendant.          )

                                    NOTICE
                   (WAIVER OF IN-PERSON SENTENCING HEARING)

         THE COURT WILL PLEASE NOTE defendant’s written waiver of his right to an

in-person sentencing hearing, attached as an Exhibit, pursuant to Fed.R.Crim.Proc. 43(b). It is

the defendant's wish to appear remotely, by videoteleconference (VTC), for the hearing in

February 6, 2023 at 11 o’clock a.m., and hereby notes that he waives his in-person right to

appear for his sentencing.

         This notice is,

                                               Respectfully submitted,

                                                   Nathan I. Silver

                                               NATHAN I. SILVER, ESQ.
                                               D.C. Bar No. 944314
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                                               (301) 229-0189/(301) 229-3625 (fax)
                                               Email: nisquire@aol.com

                                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of this Notice has been served upon April Ayers-Perez,
Esq., United States Dept. of Justice (USAO-SD Texas.), attorney of record for the United States,
via ECF this 14th day of November, 2022.

                                               __Nathan I. Silver_____
                                               Nathan I. Silver
